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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

EMILIO GUTIERREZ-SOTO,

Petitioner,
v.
JEFFERSON SESSIONS III, in his ojj‘icial EP-lS-CV-00071-DCG
capacity as Attorney General of the United
States,' KIRSTJEN NIELSEN, in her
official capacity as Secretary of U.S.
Department ofHomelana' Securily;
THOMAS HOMAN, in his ojicial capacity
as Dl'rector of U.S. lmmigrations and
Customs Enforcement; WILLIAM JOYCE,
in his ojicial capacity as Acting El Paso
Field Ojj‘z`ce Director for U.S. Immigration
and Customs Enforcement; and UNITED
STATES DEPARTMENT OF
HOMELAND SECURITY,

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Respondents.
ORDER GRANTING MOTION TO SHOW CAUSE
Presently before the Colu't is Petitioners Emilio Gutierrez-Soto and Oscar Gutierrez-
Soto’s “Motion for Order to Show Cause and Oral Argument” (ECF No. 30) flled on May 25,
2018. Therein, Petitioners seek an oral hearing in this matter and request that the Court order
Respondents to show cause why Petitioners’ Writ of Habeas Corpus should not be grantecl.l The

Court GRANTS Petitioners’ Motion and enters the following orders:

 

l On July 5, 2018, Petitioners filed another Motion for an Order to Show Cause requesting their
release based on their belief that they are part of the class granted relief in Damus v. Nielsen, No. CV 18~
578 (JEB), 2018 WL 3232515, at *18 (D.D.C. July 2, 2018). The Court disagrees with Petitioners and
finds that Damus is distinguishable because the Damus court found that their defendants violated their
internal procedures by systematically denying parole rather than considering the appropriate factors as
mandated by the internal procedures Id. at 15-17. That is not the case here. Petitioners were granted
humanitarian parole and later had that parole revoked.

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Accordingly, IT IS HEREBY ORDERED that Respondents SHALL FILE a response
to the Petitioners’ Writ of Habeas Corpus addressing the outstanding issues by no later than July
18, 2018.

IT IS FURTHER ORDERED that Petitioners MAY FILE a reply to Respondents’
response, provided that the reply is filed no later than seven (7) days after the date of service of
the response,

IT IS FINALLY ORDERED that the above-captioned cause is set for an
EVIDENTIARY HEARING in Courtroom Number 322, on the Third Floor of the United
States Courthouse, 525 Magoff`m Avenue, El Paso, Texas, on Wednesday, August 1, 2018, at
1:30 P.M.z Respondents SHALL PRODUCE Petitioners for the evidentiary hearing.3

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So ORDERED and SIGNED this ZD day of July 2018,

DA C. G ADERRAMA

UNITED STATES DISTRICT JUDGE

 

2 If the parties have any conflicts with the date of the evidentiary hearing or the briefing
deadlines, they shall inform the Court via a Motion to Continue by no later than Monday, July 16, 2018.
The party filing the Motion to Continue shall offer alternate dates for the deadline or hearing, and the
opposing party may file a response offering dates of their own.

3 The parties should be prepared to present their witnesses for examination and offer any evidence
needed for the examination of the Witnesses.

